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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  ELI LILLY AND COMPANY, et al.                        )
                                                       )
                               Plaintiffs,             )
                                                       )
                          v.                           )       No. 1:21-cv-00081-SEB-MJD
                                                       )
  XAVIER BECERRA in his official capacity as           )
  Secretary of Health & Human Services, et al.         )


                              The Honorable Sarah Evans Barker, Judge
                                      Entry for July 30, 2021



         On this date, Plaintiffs appeared by counsel, John C. O'Quinn, Matthew S. Owen, Andrea

  Butler, Andrea Roberts Pierson and Brian Paul and client representatives, Anat Hakim and

  Michael Hulka. Defendants appeared by Kate Talmor and Jody Lowenstein for a hearing on

  Defendants' Motion to Dismiss or, in the Alternative, for Summary Judgment [Dkt. 87],

  Plaintiffs' Cross-Motion for Summary Judgment [Dkt. 89], and Plaintiffs' Motion for Preliminary

  Injunction and a Temporary Restraining Order [Dkt. 94]. Court Reporter, Laura Howie-Walters,

  reported the proceedings.


     •   Defendants' counsel moved to for the admission of co-counsel, Jody Lowenstein. The
         Court granted same.

     •   Defendants' counsel presented their oral arguments.

     •   Plaintiffs' counsel presented their oral arguments.

     •   The Court takes the motions under advisement.

     •   Court is adjourned.
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